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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

UNITED STATES OF AMERICA,

v.
                                                              No. 3:13-CR-236-M
JESSICA SALMERON,

                              Defendant,

and

CITIGROUP PENSION PLAN,
CREDIT UNION OF TEXAS, and
EXCALIBUR COLLISION CENTER,
INC.,

                              Garnishees.

                     TERMINATION OF GARNISHMENT
               AND SATISFACTION AND RELEASE OF JUDGMENT

        Pursuant to 28 U.S.C. § 3205(c)(10), the United States of America, by the

undersigned, terminates the garnishment proceedings against Defendant-Judgment

Debtor Jessica Salmeron, her spouse Nicholas Anthony Salmeron, and Garnishees

Citigroup Pension Plan, Credit Union of Texas, and Excalibur Collision Center, Inc., as

the judgment has now been paid in full. Therefore, any additional funds withheld in

compliance with the writs of garnishment entered in this case may now be released from

restriction.

        On May 28, 2014, the judgment entered by this Court imposed a mandatory

special assessment of $100 plus $76,781.41 in restitution against Defendant-Judgment


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Debtor Jessica Salmeron. Those monetary impositions having now been paid in full, the

Clerk of the Court is authorized to satisfy the judgment of record.1

                                                Respectfully submitted,

                                                JOHN R. PARKER
                                                UNITED STATES ATTORNEY


                                                /s/ Melissa A. Childs
                                                MELISSA A. CHILDS
                                                Assistant United States Attorney
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1
 The United States will provide an original release of lien directly to Defendant-Judgment Debtor Jessica
Salmeron to be recorded in the real property records.


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                                CERTIFICATE OF SERVICE

        The undersigned Assistant United States Attorney certifies that in accordance
 with Fed. R. Crim. P. 49, LCrR 49.2, and the Miscellaneous Order on Electronic Case
 Filing (ECF), the following document:

            United States’ Termination of Garnishment Proceedings and
            Satisfaction and Release of Judgment

 was served pursuant to the district court’s ECF system as to ECF filers, if any, and
 was sent by first-class mail on March 2, 2016, to the following non-ECF filers:

 Tom W. Sharp                                  Excalibur Collision Center, Inc.
 Blalack & Williams                            Alexander Gonzalez, Registered Agent
 5550 LBJ Freeway, Ste. 400                    710 Exposition Ave
 Dallas, TX 75240                              Dallas, TX 75226
 214/630-1916; 214/630-1112 (fax)              Garnishee
 tsharp@blalack.com                            Service by e-mail
 Attorney for Garnishee                        alex@excaliburcollision.com

 Citigroup Pension Plan
 Amy Noelle, Pension Plan Manager
 Corporate HR – Global Benefits
 1 Court Square, 21st Floor
 Long Island City, NY 11120
 Amy.noelle@citi.com
 Garnishee

 Jessica Salmeron                              Nicholas Anthony Salmeron
 XXXX XXXX                                     XXXX XXXX
 Dallas, TX 75218                              Dallas, TX 75218
 jess.salmeron@yahoo.com                       nsalmeron2323@yahoo.com
 Judgment-Debtor                               Spouse




                                          s/ Melissa A. Childs
                                          MELISSA A. CHILDS
                                          Assistant United States Attorney



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